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JULY 1, 2010
TO: CHRIST TROUPIS, ESQ.
RE: ADDITIONAL DATA FOR CLOSED PRIMARY LAWSUIT

There is much that can, and will, be said in response to the State’s expert witnesses’ analysis of my initial
research work.

In the interim, | wanted to bring to your attention a very interesting data set from our most recent
Primary Election in Idaho’s District 6 —- Latah County.

In May, 2010, incumbent state senator Gary Schroeder was defeated in the primary by conservative
challenger Gresham Bouma. The data from this race provides an illuminating contrast with the data |
submitted in analyzing Schroeder’s 2004 primary election.

2004 2010
Schroeder.... 2,685 Schroeder.... 1,551
>3,947 > 3,647
Vance ......... 1,262 Bouma .......... 2,095
Dem Candidate: 338 Dem Candidate: 903
TV: 4,285 TV: 4,549

There are several fascinating things to note about these two data sets — one in which the liberal
Schroeder won re-nomination, and the other, which he lost.

First, we see that there were 301 fewer votes cast in the Republican Primary in 2010 than were cast in

2004. Second, please note that Schroeder received 1,134 fewer votes this year than he did in his last
serious primary.

Are these 301 “missing” votes actually Democrats who decided not to defend Schroeder in this
particular contest? There is no way of knowing for certain based simply upon the election returns, but it
is certainly suggestive — particularly when one notes that many more Democrats appear to be excited by
their nominee in this year’s election than was true in 2004: There are 565 more Democrat ballots cast
for the Democrat state senate candidate (Dan Schmidt) than were cast six years ago.

If we put these two figures together — the lower turnout plus the increased Democrat vote — we have a
possible accounting for 76% of Schroeder’s vote erosion between 2010 and 2004.

Again, there is no way to determine conclusively that the absence of Democrat cross-over votes cost
Schroeder his seat in the Idaho Senate — but, based upon everything I know about this district and
Schroeder's political history, | believe it highly likely that Democrats executed a strategic decision to
trade-in a liberal Republican for a genuine Democrat in 2010.
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David D. Repley

July 1, 2010
TO: CHRIST TROUPIS, ESQ.
RE: SUPPLEMENTAL RESEARCH — 2010 ADA COUNTY COMMISSION RACE

2010 witnessed one of the most brazen displays of interference with the Republican Party’s right to
choose its candidates when the Democrat Mayor of Boise, Dave Beiter, engaged in an active and public
campaign to encourage Democrats to cross-over in support of his “Republican” choices for the Ada
County Commission. He was joined in this effort by Democrat City Councilman T.J. Thomson — who, by
the way, served as the statewide political operative for President Obama’s 2008 campaign in Idaho.

A rather cursory examination of the election data from the most recent May primary indicates that their
efforts had an effect.

| looked at election returns for contested GOP primaries in Ada County, as well as data for contested
Republican Primaries in Legislative District 19. | chose this specific district because of its close ties with
both Beiter and Thomson — as well as its high Democratic performance history. It seemed likely that if
any area of the county responded to Beiter’s brazen call, this would be the one.

The data indicates that many Democrats responded to the cross-over appeal in both Ada County, as well
as District 19. We again see a disproportionate number of ballots cast in the two Ada County
Commission races, indicating the presence of voters driven by a strategic desire to gain two commission
seats for proven liberals running as Republicans. (Please see attached graph).

in Ada County as a whole, we see approximately 35,000 Republican ballots cast for the three contested
top-of-the-ticket races (governor, senator and federal representative). In the contested races for Lt.
Governor and State Controller, we see a drop-off of 10% and 13%, respectively. | tabulated all the
ballots cast for GOP legislative races in Ada County, which averaged 83% of those cast for Governor.

We then see a spike in the number of ballots cast in the two county commission races, with total ballots
cast on the Republican side equaling 93% of the vote total for governor.

The contested race for Clerk of the District Court followed a more traditional pattern: just 78.6% of
those voting in the governor's race went on to vote in this county race.

The pattern is similarly dramatic in District 19 — but, in my opinion, would have been even more
demonstrative of Democratic Cross-Over Voting had there not been a contested Democratic primary for
a legislative House seat.

One cannot say definitively that DCOV efforts led by Mayor Beiter elected Mr. Bisterfeldt, but the data
strongly suggests that it was a key ingredient in his victory.
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Comparison of Votes Cast
Ada Co. Commission
2010 Primary

100% _f
90% 4
80%-4—
70%

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GOP Votes Cast in Ada Co. Primary

= Ada County
= District 19

(Votes cast in Ada County in GOP primaries;
votes for governor = 100%;
highest legislative vote totals in each district used for

data point marked “GOP Legislative”)
